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 IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

   MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA )
                         )             CRIMINAL ACTION NO.
    v.                   )                2:10cr186-MHT
                         )                    (WO)
JARRELL W. WALKER, JR.   )


                       OPINION AND ORDER

    Currently before the court is defendant Jarrell W.

Walker, Jr.’s objection to an order issued by the

magistrate     judge   denying      Walker’s     motion   for    the

court’s   in    camera     review     of   the    conditions      of

‘pretrial supervision and presentence interview’ of

defendant Ronald E. Gilley, who has pled guilty and is

now in the process of testifying against Walker.

Based on an independent and de novo review of the

record, including a transcript of the hearing before

the magistrate judge, the court overrules Walker’s

objection and affirms the magistrate judge’s order.
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      Walker filed a motion asking the court to conduct

an in camera review of “certain documents pertaining

to    Gilley’s    pretrial     supervision         and   presentence

interview.”       Mot. at 1 (Doc. No. 1361).                  Walker

contends that these documents could be “relevant for

cross-examination and impeachment” of Gillay                 Id.    At

the hearing on the motion, Walker’s counsel amended

the    motion    to    include     in    camera     review   of    the

probation officer’s notes from her interview with

Gilley, which will be used to create the presentence

report.

      The magistrate judge denied Walker access to both

the presentence report and the notes.                 He found that

the request for the presentence report was not ripe,

as the report has yet to be completed.                   As for the

notes, the magistrate judge denied Walker’s request

because    “the       notes   of       the     interviewer   do    not

constitute a statement made by, or adopted by Gilley.”

Order at 2-3 (Doc. No. 1387).                At an in camera hearing


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held     by    this     court      on       Walker’s          appeal    of   the

magistrate judge’s order, Walker made clear that he

appeals only the portion of the order denying him

access to the probation officer’s notes.

       The    court    agrees      with      the       magistrate        judge’s

reasoning, and adds these brief points.                               As stated

above, Walker requested the probation officer’s notes

because       they     could       “show      a        prior     inconsistent

statement and/or impeachment."                     Mot. at 2 (Doc. No.

1361).        The magistrate judge’s ruling is consistent

with    Federal       Rule    of    Evidence           613,     which     allows

examination concerning "a prior statement made by the

witness." Fed. R. Evid. 613(a) (emphasis added). The

probation       officer’s          notes      do       not     constitute      a

statement        made        by     Gilley,             but      merely      her

interpretation of their interview and what she saw fit

to   write      down.        While      a    report       of     a     witness’s

statements       can    arguably        be    used       to     refresh      that

witness's       memory,      it    cannot         be    used     to    impeach,


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because it is not the witness’s own statement.                   See

United States v. Harris, 908 F.2 728, 738 (11th Cir.

1990) (affirming district court’s instructions to the

jury    that   FBI   reports    can    be   used   to    refresh      a

witness’s memory, but should not be considered by the

jury as inconsistent, “because they are not truly

statements of the person being interviewed.”).                   The

notes also cannot be admitted as non-hearsay under

Fed. R. Evid. 801(d)(1), because that provision allows

the admission of an inconsistent statement made only

under oath.      Consequently, the probation officer’s

notes are not proper evidence of an inconsistent

statement,     and    thus     are    not   proper      impeachment

material.

       Furthermore, the court notes that Walker has given

no basis whatsoever for his belief that Gilley’s

testimony at trial was inconsistent with what he told

the probation officer in his presentence interview.

Instead, Walker’s motion appears to be a fishing


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expedition, taken upon the hope that he will find an

amorphous “something” helpful to his case. Indeed, it

appears    that    Walker       seeks    to    challenge     Gilley’s

character    for    untruthfulness,           but   prior    false   or

inconsistent statements cannot be proven by extrinsic

evidence.        See Fed. R. Evid. 608(b).                  Therefore,

Walker will remain “stuck” with any answer that Gilley

gives as a witness during trial. See United States v.

Cole, 617 F.2d 151, 154 n.3 (5th Cir. 1980) (noting

that while a prosecutor “could inquire into the acts

involved    in    making    a    false    statement     under    Rule

608(b), he could not prove it by extrinsic evidence,

but had to take the witness' answer.”) (The Eleventh

Circuit Court of Appeals has adopted as precedent all

decisions of the former Fifth Circuit Court of Appeals

rendered prior to October 1, 1981, Bonner v. City of

Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en

banc)).     Thus, Walker has provided an insufficient




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reason to reveal the confidential information shared

by Gilley with his probation officer.



                               ***

    Accordingly, it is ORDERED that defendant Jarrell

W. Walker’s objection (Doc. No. 1382) is overruled,

and that the magistrate judge’s order (Doc. No. 1387)

is affirmed.

    DONE, this the 11th day of July, 2011.


                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
